          Case 1:14-cr-00230-RC Document 53 Filed 05/06/15 Page 1 of 2



                        IN T H E UNITED STATES D I S T R I C T C O U R T
                            F O R T H E D I S T R I C T O F COLUMBIA


                                      F I L E UNDER S E A L


UNITED STATES

          V.                            Cr. No. 14-230 (RC)

DANIELA G R E E N E




               DEFENDANT'S MEMORANDUM IN AID O F SENTENCING

        The Court has reviewed the presentence report, govemment and defense submissions,

including letters on behalf of Ms. Greene. Ms. Greene has also been incarcerated since August of

2014.

        Based upon the cooperation and the record in this case, both sealed and unsealed, Ms. Greene

and counsel respectfully request a sentence of time served.


                                              Respectfully submitted.


                                             A.J. Kramer

                                             Federal Public Defender




                                      By:      /^ILAJUK
                                             Shawn Moore
                                             Assistant Federal Public Defender
                                             Attorney for Daniela Greene
                                             DC Bar #214171
                                             625 Indiana Avenue, NW #550
                                             Washington, DC 20004
          Case 1:14-cr-00230-RC Document 53 Filed 05/06/15 Page 2 of 2



                                              202/208-7500
                                              Fax/202/208-7515 or 501-3829




                                  CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was served, by hand and electronic mail on the
Office of the United States Attorney, Thomas Gillice, Assistant United States Attorney, 555 Fourth
Street, NW, Washington, DC 20530, this 6 day of May, 2015.




                                             Shawn Moore




                                               -2-
